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APPENDIX IV
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APPENDIX B-
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AHO] 33
Pe Sposa sys Bp

Lo ssssadod powari: se 1uayjed Gneepy. 3

THOT ANY EH SUERTE JETT

Japon ESUTS Bap 4G prce send

Sy] Prue Syed pre. sapat S Weiss
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by Syene fo Saree ay eee
“(eaeoR
dem ‘raj onper 2 iad Speer ag Loe oc] .
‘oat pod Scunjo
‘ZOUEBSIP JO ABASIC

soagyat I BE SESS JPM aq Apap]

. ‘motronsyd | Pan sTL2-12
Saigo SPER AeA pe pele fo
-aIngEEUS 1seyrdchny Hee} APES TE ALOE ‘CT

“fiom yeuty “Syed pes, sTOsEae
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my sed Ne Jose popu ae ®
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oo “RAR IED moa

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ABQ OUYyII], PUw sualag 10) SPuepuayg Wuapwsy
 

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PGE JO UopEUOS Moy UTR « pe Wopeeas UNS & 8-4)

“(hay SeSumtyo splint Ben uopirn 2.70.0

JO FF0RS TSS LOS HOLMES To SEE Oe PAR ceoooYy

fo-diteq) ‘Aso usd “8 3} aunt “feurars.ts peg pONy

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True $0rd9¢. Cy “apo ako aed?
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pt ses uaadol} HOF TON

 

"Eniby sel <Grdap OL tusooy pits
“AgLVERE SE, “Goon wuad ¢ FOBES
“an Anis Jor szeayL ‘Aidoq) AMT
“MO jOAs ge Loatyy “ipsayy 9120

“OUT EE eH. 9g)
mo wees pO ed gare ty WEE
@ Dene fo }0970 oe SQUARES, #

 

 

“SRK |A

Fo (4e Oy SBE Say) SULSETC] +

 

sBoO[OUGIaT PUB BINDIIg 10) SPAePaeg swapBy

WOS304

 
 

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Zaye '¢ -ueMmrer
af

wo. PUL

 

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ny

 

“DORN ps # avon 10
WOTEREO AG sou jrpard ay youesal
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yin PER] pace SSIS
are TUCTHOS wD SEpOT +
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Op SAU Pe pe Eee
JO] WOT euuEpat pends SIEMEEAG ‘AL

‘Capp yo Soycmrepids
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STUTDFRCMs Ja Hanacappee
RHO OST STEEP ID
os TS ds) Sogeod) Baran
a6 srs af ENE Qe «

 

* Aypeueqgeuado Suntypep
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“SSUNLALOS 0) POR EEUU
BaKYOS fim Toppan por
SMEHAPT SYR OW SEES Season 367)
suormos
Supmpard pug “eep tuTerdsicy
“Sep e.4 Buy AUTEM “Say qe.
SuzmRooas sae pepouls
faq sasaipod a, Supe
“SOQScD FopaNE] ‘speed
Sypptaiee apedwdda dopa]
"RIOHEAIEQO UD pase
SIDE SAEnD poe Sapien
Sac UPTO STEM eT
‘EAB BOE a
HURHOUAPO [ROP Ses PE SAEs
seneiia pare oF pay wn Feoserdl ‘Ap gy

_Fynéal
paqibur wyapiva pio saraceaty TANS
COR RGOT wa Te]
‘ag A PATE PLO a RS
0] AIBA Deqeatasge PSs pata

 

“BIH IAL OS
sonpiud PUE ‘ES PH DASIp
‘SpApCALE STRING] eyep eey es
_ RaQ
METNG MR PAE “SQQEDE. eeniooa
"Ayo pepo wy
Spagaubiecs pote 159] “RSL
. MERIC] “SUONSaNE BST
“apo da sors ‘sdngsupne(ea
LUT SERS Se SEO &
‘SOKA HTREL DUE BTS!
Pippa iq sciyep squsssy
SES
JO LAUR. & SHISN STL aIngEap]. #
“SHOKNRUASO andra
qhie apa. apajmonyt sand Apkhy a

sensed pow balding Supaparsiuerys
AMLUOITOTIN sige oy UNAdKy 4

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OL PS] Doptetdsa OU Mistae pawsocd
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“$2503 S415

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TES LONEULOD MAE MO] HE

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ary nj purunopm Rowen gue sae ‘Spaljad] PE SSUOWIT pea suctsanb. FBLA, Jeary _* PH MOT TEs se OP
QyeuuT UCD of sessed STRAT ooAITaIDS PROTO pm aedine + (Pq 8 pe oT Jaya E pe
SuePut ay Se ye ‘s8pajwicary aap OUERISIG use deed ps Hussy . Ws] SUTTSIS & Ueadag ys.
“papopMenry [Bare Oya) FA STATOR JO ANNI AD) WOqe ‘Sa papnairy (Eaoppuys “apap scary jeowazouna) te
Pod syQe}3s Jo cane OY SENET sayy pur aipaavory ah PUE So usos Sdde-pur mpg -y | oEHMspe po cuniet Sih Osh Dae ARTO) “WF
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aap poy 2yi aupitbon ¢ O} PUD poyHajOd WMENLEO Fy JO Spey TIAL OF preamps dana uoddns puy pduapeyo ‘youay joys SOs aygnd S,Hinpijpswuag f-

 

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Wot Jet

a sposddy “TPAD Bef Te “

 

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SU) (ISK PS S]ETGoAS PUN seeded
TE SSSR POE SEI
RIBSSoSO SH SUN pitt Weisapen
“WBTNIOS NY) SSeeeE MMe PEO Ey
OPO Ay, Sass plat praera phy
“SRAPOLCS SAT ea

dopaaap gun HOQMOS py

ayy osqenddg pare doyaeap “saodug

“PRESENTE

HMB gq) suORSONb Siepinauney pate
HOnwUORT AES Soa aL aod
Way qerd ay jo sesdse YE ssoesy

‘Sniaqqand aaqos oy sana ni adie

{ealFojorpzay ays 950 pue se ery ‘Gg

PaIpERS 2 pInOO I Ans ypssessON
Bo SCYSSOb ERHUPpS Hela
Taorsanh ao Soa AaT

_ SY BOREURD RR |eROTEAe

* SMES UH] IH MANIRAT

~ 7+ Ranbahssy

‘ aitidossp po op jens Soe

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OT Saal & QOS SAU OF Sey eRLE
[PAIR pase. porto? SVENDOpte
”Spiias weet es any urea ery

‘sueBenb

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ay quaiss aie PRE

24] FO JT, S12 Sues BED
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“sLugposd dys-4poor 305 01 OL

JAbyz Opp fo SaaS Hy aadihy a

‘WOROKE ATF
$9 Spb] af) Hiasand pue sjenpeaa

pire sana oy Sew
‘loegaein ait a.crdin pee

Uaisapai “s3y WORN[OS a) OPEEAL

BOWES AL RYE

UDTEpO # azGune pie seedy =
“PRISE 2 FONE PEL) Topas
Te Pur coneupapt Stes

He woe ap sane

_ Suaqead eyed or seeocud uttsap

+ Apperasuasdhs aap ay

TSAI Fp sions EOE ES =
‘Udi saab ayy Sowa wne
aE MOR RIGpA ppp

Jo Seema ap ApS +

‘) -epeineetie oritietie ps yop Sen

TOFPUosoguy jersoruadKs gepueICy
quick days apie yruir e yhpao> *
Monsen # a7eF sau} SE
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“mM sonb
fo seouMieLidde op) ene
FIDE SHES. Uz
SUUSIOS TERONT! Poreaere
2d] UE PHY) EPL AD CPA ETE
“Ege hogs oA senh wyereSry) «
“Sees qOT” a.Ayos oF
Jima ayipestos Jo spEeta ey Liddy

 

(eASopourjoa oy dda bag Seo ‘a

 

HOTNESS ot po Seach

STL aSycey Pas Apepagyy “Surat unchy
Biogedd “9y]neae ay] Uy
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SUOENOS 3.400778 01 BEAL
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ye SUTURE ay) SPAY .
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Jo esas edordde ap aenyeaq

“SUGTIEA Nau
AYUMI RT) PARE

24] TES TE Sa Cp TULA.

‘SSfqO FLOQE SEIN seHouSey

Pura qaad Sago of Aormebesy oeyuiaess

JO Sheu] SL 268 PE ep] 2

 

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oA Qram “wanufos- ay squct] 4
_ TAOS Bi,
“NBGA JO sate

Heap pre suorn]os apqueeed Apmbpl «

‘pnuraj kt

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Sey qhid 2.1768. py eee >ord warsop
pape oanitay sate a pa szmfonay

Wom emurogur Sy} 1

TuaIsTsoo st sip pido kag =

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SEUSS. YATRA) pays
30) UES [EVpp Sia pene seuanyeaa
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“Suapqard 3.1506 Gf aq Euy amare
40 Sway AP Ost Pe aE Nesey

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AHo[OUyId | PUL BdUdIIG 10) SPALpuEyG a1MApEsy
 

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Zane “6 Anmuey wo] [ECLA qsqueddy ‘p19 "9p0} td 22

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Z} =
_™ ~ TESA WE JO MUON SAT I cee
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PU ARSTUIEYSO}g St) Wo year PUP feo ead pieuarLS Jo Suey LY ‘sya ia I

IOUS JO ache pewayod BPIIET«
TRITSS
Ay eu gael Pepreyete
PIMP JO STO IEA Pe ay Sher
Gesaieg SGRDOreTAl EMEA +
SAL LZUFA JO pop aLoiy Rp UES
SRN Sa LUIS OE DENTE *
“(ACACIA “upset
aT aduusy - 23) GOA see
uaa aioweg aquMep pu Eenesp] +
“AUS TUES am. AL Fo
Syed PEIONNS PUR [ESAyO ap esp et |

‘SaLIL|
“a7 Jo yoes uy pamag {qisragp

“RuGpHUry (7s 10) 2447 Ap

FO loa us sdigpey epee pudgy
Dice [ONE DpeRINS POE EE, +

at

WES ASSL PURE ZT Sch RTT CHE

Dy) Perera? PZ STOO 199443

Og WENPLAS eK

sassIooed PE SATIN Fas Tie
SMONOUINY 1p BPA ab Lt LAL
Sth RUE US SPE ALOT owas *
“Yqes yo
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ple samnponne periisods of ADE +
a gy Uy SATs Say WORSE yb
PGE Sajhsepoul SMES ES mM anterintt
dy ussesq deysuonapay-siL agiazegy«
“SUNS O SLA Je Syeeq (ETUDE,
Pur jenna ay eget pu equored “a

Japuo

DUE SFE ep. UOT Ag SIDTOy
aif FoR szitisRieys Due ApImop, «

: “Say Ug ESSo]o
Jo saumaos BipeBto oye] +

$/203] Wp? Pa AEST

2h ye Cy PR TS

 

 

agi pur sepia catanpuidhd “sayo.>
759 dooney YsIMsip pure ages
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suspaaue pub syac ley sy e
‘Peay pa
wo season’ Spy yitas pay terete
aq) ie sassconud ayy arediuno) 8
uussmeEdo of |739 mal
mat eeRHEeG JO BpeAy ay SuWEpl #
SHUNT SUL RO PEN PEO UN, PU
PETTY TES peg OL BE FeO APL ages]

“TA GE

ana & 0 FAT] TE poet
A00re suisieychepe tog pinoy}

{

| eyo sind Eee. anny OOTP ¢] *

 

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SOOT. O} LaPSTOL ON Sapp Suiyy

. SSG depo

poe sensor jo saGunice ipa; +
‘BUCEL Say ites ARIE ie shud

fo dn apa ait sau: By Wey AY

‘S]EWNME

' poe quest sn apsit eg ques
‘eHaaA sep

0] peyial Sie.seoust aie :

pa sornayrs Hy baw (sis ,
spog “@uparos jo aet tj -saepuavdehy :

SM |SEL EES [RESTO TETIE * Po)

 

 

 

 

 

 

 

 

 

 

 

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we Saircoonas pam ong " ‘sdeaa LLovyROETIsEey SuNTEECS et vacaitownjotp # TAN Oy eRe Say sure Tea sults Heit ious
Aqmetrun 2-3) sos porg1o Secu HisuEpaRid trap ot Boppreseet sueywoy “gAgn. aubpn oe ai
SUGARY mops poe AHUEpL 4 ayy] 40feur TIES POE ADE ut Lonsdhy tea dysty San aW.Az} Beal WOSsd op Tee “E'2) FEUD
, “ronpeTUSEN “SUNN Fup) uci FO GORUSLNS Of) ato] SGOT] * Bursa $0 reed it SI
D OIA por arnysnuts PUNE Sues PU SLTOYTUATS | SHAT, BULA 2ere.iTp Guay? ENG zo Su
; “Taoqaq ArgsuoteD>2 Ap ureyicgy “Wy FeLony pint puns ap cy Y | SOUSUSL TD PUE SHE YONA it Sq ea “Y | JO saueuagE Pare SSL oa YY
PS . OR pop IaH SHTys pu |.
alpapnouy ay) aajniep of paw jutimod PILED 9y 20 Shy FINAL 01 Reapts Leds uioddns pus aduayoy yopas jptiiys soos angie s,pranaden as :
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AZopouysa], Puk sausag 107 SPLUPUBIG s1WIapEsy
e # o S oS @ 6 *
 

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—— “ses0u) py 7 4
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swonejost “3 3} ES. WONG SP Opp sect] OYE “at
SOAP ApE eqnosap « “yed ay) Seyipays =I
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qusaaud arog) top eOSTe TTS -APPHIET Fos ues SETUPS
spysaed ssodadd pam sspeds jeans po Stoney dod jag azadesat +
ho SREpUSap Map Lisp aredoto | “‘Sursepidas
‘usted yo uonedod poe Sinatnas wy a epeape
ESOS 1 BOTEUIpNOs wT autos apd AEN Balads anes 371 [0
PRE SAHGepe HI FO SPOT NY) IEE e aJURpLATPUL Un Seno gyep IIE ALOU #
Teo yo Gop 2 ‘so)oeds ans pur suepRao
0) Sd are Teg SeapR NC PEE JO EAPUnS Sal sage UES SeoEL
BAAS PROTONS “AAOQOTaC [EMU OSES Oe AH] SUS]
Pa Srofewe my sari pes "RUUD
{Spa [SSOP wtoty Ep se Apr Ja G1 ay OL SIs RTO
_ WOR. MOTE Ey sEoedepd Asp +
“Hom moras =| | gO Gooey aj) JO SST aI UTEIN “A woyoopos .
Sunpeneny a sdocuoo pETBHED EE punyen jo sidaaue> syseq EPCS supe Son

One ids 12npA jo pddous oyi Aide
wort, Lispou oF
sprituey {pea ner Uosratoe! a)

Sepqeeap lay ATcsTy WOU AORERTE +
' TORMOLa Jo AeOeT ay az Tetry

: ‘hay aged
Of soPET IOAN ueMudapap
Teafopo qua jo jodpuers
aay ure] Se Pep YING Una
“SOE; Poe Oso Sane
Suuaeiitia ee aquosyy +
enna
upload paw uo onpaxded agape
1 SHOE Sea] an JO pe yh ee
“pasa Jay
ai] pe Dotassudey WuSiT 2 Ape
pear] IBMDoyOU a 18

 

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Rdg mappa eo

SIGRID pe sla® yr Pacy
Suicwe daypack aca wehbe

“(eisaioug Tersisar pojqpes “8 =)

- RYDE Jap Poe Saget Burpeeq
AAO ss Pe OPEL UE" on
“(aopssyy Sods Bigppng “H's)

sary) Fupayy we surayyed

BM Npandat MUP ESTOnSEE
Tsao 5 Weil

. PEO Shajpd RAMEN aquetecy &
SIEDKAL PUY SiO LU Fe
DOWMEtS ony) ROIS pane ated

‘peamudss pu pomeim

SL UOT RIIOT UT STS au] SQLTOSedT “T

 

 

“TILSTHERID yo de ,
aati OEY D Hed Says Oycany ey
Ay ANaE PO UMDOpsE PETAL -
Suypabsg aapsepes ogy ogee +
mind

@ 2ig fe eto Sey wig aero .

{press Auten

. alnmagion “9'9} sanpeuda: sum

BULA] are gIE oq TURNS .
“PILES SEE SUT, AY LET *
“(au nop
-bo ‘a.lsisaas ‘sen op “Ea}
SAULT! JO Soule See naspy -
“ALE LERTOL join
BASH SA] SI DH OT HAL Syeapl
“SSP ORRYyS
TIAL welds poe map]
“BUM PTE
Sit SAUTRUS Sp ITT Sto ease anmrst
PO 1S BSE HSE ds ao OD

 

IPL SUN a AT ae =
“aU

rand stip Hoya op Sa ARMS “Cd

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sures *raynuiy waa Miey PE pee

auudeyo pad suied qege) mWadde
jen) Bo eviogamyS ROPE Sd GPUS] «

- ‘eaely[o

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JRuTE 10] sorysuUNeYD Aypaapy
Sneed aici
Squier yaso,o Fuadayjo ‘snyd pue

POLERED Ant SHISHEPOE" AD HET CUE“)

 

 

fBojouyoa 1. pug ganas 10] SPAEpULIG JMapEsy
 

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wr Lae PIEpUETS iWajosg puy joemoaparg aq) Gy aan spaapuins mayationg

emmy 7240. esunees
JU UCR YEAS garoads &
sony saunas pe iene sent rapa
Ipanyet Jo wines a dy +
Sa Rano Bo. dja:
Fai WED oT oay2e EINER A Ee
“Su BF ws peaseg jeaNoya.iap
5 Ties aij of sia. sodinn
SHETTY Nea) FORAY ese .
‘nip sdouad
(we Wouoyae [RIMTEL Jo so jOr Zi
uaaal seep PUP SquEep =
“Soushbahues nay
BIT SUL 40, waypeepKiod
an dena) acs
Sunoagps (onpempasdar

SBojougos JT put sousns 10J spaBpusys IMWSpPRIyY

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Toog "¢ Ley

nud Ly

aL xipoadiy yp ‘spo3 Bd eZ Se
ag
cs

 

“SURELY PREY Furey oq

(seaiayyeon ARqnies *dusmap “Za
Fae po saedeud ay AMEN

‘Sedfopost aatsuorpel OFAC BA]

ape WA JO 229 oy) apes oF lesap
sofas gb Agieirpand op spddy

"UpAIin 21) AES oy To sppors

Pur SopMed Fraps

Va Berasip 38 SPIE OT eae
“aSiste JO DOP tEHOO yt Ankty a

__ *eaypesseneg

“Spe Bra} PUNCHES pO sae
suertociin Girespy Prt azpshpetey S|

‘sapredund

ph spa sseea pure eppabiy ‘spqod
Pa fap sito; ap acy reg. +

“RPRESSMNTE . EEE oRY aT LETTS

_Bpmodanca yo sad) pts
DUG HES WOE PRT PEUISTSPUL] 4
‘Randa wonesedas aed cade
2 SUA ows paey diy +
“{2roua pus shan po iroeassies
yo Ean a unde 04 sugnowae
Pespusya yo sod. anops aquaseg *
‘gpundditios Spiesroni
dane 0 seyomiyily nanwoosg «
HBayEAGS por oTukn) Sepoayt SHHipaEg
agin sapodond Smiyncar icy] pue
spuvieriuten jo uopRUTOS pt UUK RCT
“Areamy], Tema pYY: suey <i OL
Siiqpiodea- ioe 30 becinia omisSiect
“gmedniyps Sep Ceasy et Mbp eee peat
mipad saery stig 70 OFr OGL

  

SHOES teams Seyi
Je-sisnpesd pus sweest sqiineigr =

uipsen 2a wee tesep oy pe fyns aE anon ina Jo s014 Sy oa apt “Septeckaad Jo aime “sanxey 73-9): FOSS
nap sedeyese astiouorper sory wyeidsa - - Spge; apes nn Pecisalid pure. jeomusyo aarWapt han ening aan notre .
upc AiTRUS Squtoye yo sidaipak Rope _ |. Sisouruadxe y2npios paw aqnaEe + erin parE!
JER OH pee JEOTURI GSO sad “Mog aug] Suen. fq sopuadond.poouubay> - . ara u
uawenba 1 “Usp RE Ae . po taped Siteadia oq) wiephg ‘ may spuncdkuos inns + soa 40 os oe a .
PEEPS PROS - “QENSeenl see EAE ped . ‘egaza TL Op Opt . Seay Perey
or Bot Bpautd] pice diritep sara , saunponys bptnigih Gm danfiaien fis oq Jom imp done sc Spey aydusis oy huroroel esau a5}
Supeuraye os To sere alpha ye pasadhaton aig énuciir em upg : . menpLng DISH SE SpiOTLe|y ATPL - day eu JO aac: Bape
. “aaqeus 50 sopiidad ‘idarae po aonodind “Tyee ps sshyedend oe ‘reill Jo Bapdedaud pos anitarate
PUR amore ay wos sKlactan Sddy oy | pure sumanrs ap woge sdaupowpeee yy | asus apr mage BRUOS SAT “Y ap mod sudo oppeg:azTNBOray ¥,
. . wee . Opa Tae

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‘(aqamres SeaeUr

 

 

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Tagawa TT

“OT anya SETE :

 

TT "aE * Tre

 

FEGYED FE

 

 

~ saat pe Ease -aiatog wasdyd “F's
ABOpOUYIIY, PU’ FIUa[OG 10] SprepaUE;S FIMISprDY

 
 

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ZOO “¢ SreHuey
91

 

BONA ai yysafoud pur
[POT 2209) 4 SPopoE A] SE UOT eT Pe
pee -Ayoopaa “UOToAN Peay Sue)
2 epupd ap echery +
“SAINTS SEAN OUTLET | LUTE
Uboys.09 esto PRUE otic
4 SORE DUTP Fp pu Soon oe
EIpal are
Seeing Hyeq] pue puis oF ponds
A pee PAU apap Aea ‘ouanbasy
Osea sig eA
. ‘w0}
Fue pero jo soppy apr eddy *3y

“TEAL pate
ean 4 Ameya FRI aajes wy
(sdoubas “note aiases “Sa decors

onlay dpareacy ayedionide. Apdoby =
, ADT ata
scapdhuro SAUER oF Waa

Bie BOYEP {No Je Sapp WOR Sep)”
“sarapsse TEonrin soni pine PRU
oy adis yo Aneel TRAPS
Wey STALEY RATER Fe RAY

“Og eat (ESM SADE
tH peape-ury Peay 2) SUE]
SIT) erocuncy pure
fide] Cn ingens peyan ttt) PATE SSS
pue Ssamo5 (fine az.jeud pe Aj “gg

 

Lite} EUW

a spud y UD FPO Fd 27

 

“(auses “renee
TODS “WO REIN Wear
“nBeyy opnnychuw “jaye
sopideg "id 2) saya pure agbeaagy «
“Bpapideyt aqdcedoachche
‘ JO DOR wUoS pe WESop FY)
Winony sissies ohed mie owes le
SS Pomc
ULES apunds sou ya Aap]
“FOO yerTemMon sa Spats
BO spadse Ov Se cite pate
Higwss jo Mypsioaar ape Sagpy
“Ope PATE zap}
yo saydicwnuad ayy Fuouis ysynsunsic]

(AVE) SU) Sy ATO cep

DUR Wake “ganesh nye

oo  -{uorqudoud
Frye) Waypsds Heyepagezad “da)

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PLEO PH NSA Aled *

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ara e takod party Giese +

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| Rat uo saqp uoned ap De peed

Pete BE Po mono sep squad
. oto fare sung

jo sdoapid ay umyes pare Gasp] “J

, WinayS Jeopeye
Ue Oe SUITS pare sped sa apd .
“soda jo unay yes as pop,
Supddde Sq rayne 0} Saiaua jo
WUD, SUG FO WOES es ay eA
Woe
7a ao pe Perec HyH) SyqHse!
0 apices snus yg Mend jo
somos LOfEU GSE nT aqEieip Weng =
“eaiyo Sina uF
SSUAGAYD PANIES BCID Te -Gemept
‘aE pe 304
0] Syst) Pe mos ase eR oe

 

‘td “yya] Aap
anpdoo® -S3) punt yaeq ar Jo
yoaltpe say POUT Oy SUES a TyETOy

Aq }oefqe We JO POISOd aq) qe] «
quapase oir VA
Tropa Jo ead oquaeap pO sefae
pO poontsen apa at]! EdD +
“RIOT yo sedi shot Aquos” = +
‘busty speryeecttsapy pitta siaolyo ayo
PGR IO [HOUR TEL earoy amo «
(sd0m29 pur eseambnoy 4yoyHl)
ARGS JO SSE ya Cuiayy
_ “apeATOL PIE 3090
so aeday inact oqoosop pur awe

wae JETERTA 1D] “HRY
sonpod oy auAR ssn pee (ols
"wonsarpas Aronsayas “25)
pIBi, Fo sere els Ap + Ay +
len fo Aub
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SSR] At HERSEY Oe Oye
, Bahasa
pur troppo se sfopioin AESe( *
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ii wSipatt. on Sutin yesunioaye
ajsee ap so-spapoiy Ady
meds paw wojspidias “boris
Jo STG) Wy AEH}2O Fe SARIS agEAeAT
‘nasi la pafgo
jue yoann sw} SupraseeN fay Oras
“70 BOT) 9 jo adaos ap ous
HIG ROUT ‘poubas Vey py aypuats “39
Sqduiass poe tO, ABs Quaspy «
AOA

 

 

ADO}OUTSA | PU IDUdINg 10} SPAEpPNET, a1dspEIy

pate cenlne Sada) Grama esa wl ‘Ee

TAS AR fT

 
 

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g stposddy *t 0) 2P9D Pd Zo

 

 

TAME “gf MeRTLNES wodg Puts
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s oe
- oe - pp ip er nee =
. ATUSE FO BS rial
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@ poof Stn poet Tpaneyar yo Aro
- paads ay) JOSH OT] SED
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pare sous ap gpa
FRE FATS 0} Bodega Abs
pus opel “peers 7 998 Se quuchiron) .
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arepeieny reper pare woTrEg.vco jo
oats, Seon Bot Fig ape tery
"asuanm
24]) Jo aIagS pur uopTsodhaTS
ayy WOE BwEp] PRN at sary “q

‘apoE

[esq eeTONy AU Pua BFPO EALTOs

yaoi ay scuE DOT ore et PR
swaaqgtibe worour “Eniauy sqIsag]«

“WoErd7 2008 pane ogpotrt aes
IIS Ta sepowr e pedis] *

Sthroy Fare Tito Jey ue

03 Supe muaqqard aapor oy Ue
UOTE yo soa cy setpeny 8

 

“SVATIUN FAT] JO WOfA 5, UEML 0
SOMO GENO] WSR] PALE UES

AES IE(jS]e

OP WODEPEL Tray pe apNy Be Jus
wiaovdde smads SpOsqe weds)
BIST LT FATE QOVEIp LET PSI

aU Uap 04 yr yo S6h FSD
"ph APSE, AT nea

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apo45 ayn] pire aunpans op 22597
. A(STEIS DOr “Sapey FIG
sBager ‘sedliy Gone de) Sun
SA) pO Sanne op ay ered

“SOE [ESTES EDT
Sc Qe che iq Subs [ESET

“Sete pene
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PUB MOU “EPL SurpTym)

TONE FO AMEE SOLENT AOU
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JO UOROU atg] Sa pay QUIET

| ‘Qeualapapn
‘uorezpeyod ‘ends Worn
‘eodiosge “nosredsip Taege

‘| sad *2'9) soqye Ty Sqs289C7

 

pO SHUT Ap se Apwe pur Apopy oe

arp 70 pedud sy) were ‘

“FuaIpT
ay JO agora Poe woppsodiras
i DGS swap] ees MIE Ci

10 tp a ae]

pacnjas Aq pepated ewonmgpioc
put spxmypsyduiooeg sp Susp
PALAU at olOgie HL
SyTaTiMSiy Pue UE TAbo Aap»
TY 0} To toy

"pre Bumaag ae SMLinp wpe oat Of

HOTA Wy Se ERT SOC ASLOS. Pe
STEYS Jor UCTS Sy} A] SEE

‘aa API ALI

_ pee mins ds JETER AG PO aE

Saf PO 3sat NF) SO

Ons ap PLONE As eH ape nano
Psu} SarGy apy Fe. Apa Amuepy] =

“Sra pak PU Sparse

/ “SAMOS DETALp fee aQECarT ®

ed. ne oes ay ATP
pur'sad mys seq aquasady =
“RMS RIE
SRRre pe enone acre}
"Wat Soepl § TEINS Sep) PTH meuaaqun
2 {0 aes pre Loy noes
anf INOS SeoH pep HEES SoERISAT] | “CT.

 

ALS0n! puE UONE

 

-soedlppag pu

Seem sity 10 fru “(ewagitas Sep
. Sea) aap etapa 0 ene S00 pore:

SUOPIOCE WapSAS LijOs Sqm,
-sonsualeeys irs Jy PUB

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“nal processes
_ JOsPEnES oy) ayeugenifit puw-ttuei gat .
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Fepos oy) cy aoe 3 spree denisorH +
“I
ad asia, punt ani Fo

wy ade 8 pea SN i
ees ayy PqQuaseq, 4T-

 

«Sopouyaay, pile saua1ag 107 SPlEpPUvIS INWSpPRIY

 
Tat ‘s Genes cnEOy [RUT BNiposddy -¢ y3 ‘2p ‘2d 77

at

 

‘Seplsnlid pas wdennds atsis jo Han PHTTde Joy ore LioBsye > pappuris APoqOUgea |, 0} waaay

 

“SyaCE pC ao 0

pire adele, UY Ubu 30 Samnipgisaed
ee soil OL ogs Dread
‘SRSA Prue WAYS. S IETS eoeds syamons pax LAMePl + _e.

 

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LOE 363.

 

 

 

ABopouyIsyZ PUe ddNIIIG JO} SPARPURIC 9UDBPEOY

 
 

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a xapetchl yy “p73 apa) Wd ZZ

 

 

 

 

Zoa7 "5 UenwEy UO PLT
6! =F
me
oe
me
cP
=
‘SpRIGTTUE Pardo
go sod ty ipfews Quuap; Due aquosag; = SURIDY PSEGS Oy acy Hayy Ae ETP
‘Bie Apo Aeaten fue SRIEy BURA, Aap] 8
anya] 3p. spetied uy 2eopoes - Br eapetats “S)
Rust ylsa RIN your Sepa} a Sahu PORES ALG
“AMEE por seuahay aS Fue (eoqeritayes “sopqpsparey | >)
Sunep JO sperpal Pleas eda _  SSQUETS soaps prdes
-sdein acqoad Suen “sears jo sSpdurene napadeq isi]
. aioqaad po pu ETE 8 “prea demttag
appa Cora 32 2S Ip OP sory YO
n saumonneCronspy aafapeod Paairopis you ap wey OnE & ‘iuasap ‘snenbe ‘jxdon “3'9}
Ie us aquokep pire TAEapT _ ‘saiipe wi pay faip uaROTLS
oy schiuz sepdidfodiog tordronty a pun tds ISR “SONOS EE po ado ain Pee eR} Squo +
aaa PU SSE ee Lp ‘SHINE Spal sAiy Stal PAT “pufpiyras orieaao
snoties jo aie wap HE i doa “HIEEULOT OFS Se TY Sabo ‘Bey Seating pastdiuecap pu qsor palsgies a
aiNSueper jo aepynouy Aidit 6 yO Puueystemg ‘aed “F'9) pound) wi Sismoced ap agikisag + 5e pete wopibodiues oy) lisp]
"TTA OAF Tupi HOI] tatty BG “peed cy) Uy 2S0TT) Oy TEVBtis SIE ‘gyppaut jo ost. gioonp GaeG
SoapL ss ao padiawiy + DARE MISS LCAIT PEMLTOS 04 PELL (nse. son Spend peisnds Sepeo Beyer “SARy “SEER 2 3}
“fiygrredmias os “mo nMOS Saag se Bu ABA DO "UO SS “Ha} SP Opes RaeOooT SAINIOLYS HES SHOE AYE]
@X8s ‘UoTnscdsp eto “3 o) - | ao sou jo sapdnmyva aiedol + peta ERR Poe (uOpeAU per ‘SpOMpOquIiaE saps up ayeD]
SOMES yea yo TonepESp pu “SPURNS 1001] Ba PUE APUEDACU ‘tusretyos Beygney “Sieippos * 3a} jedqaayd patoayas: PowaLT van JED
TOREUUO vi) ope Kiss oF sosssoned JESUS Jo STE YSOUT NPL SF sarmtay TBOTONE po wonEATS 3) inated Bupojean, ups Fay
josie tydoed po Sepa eHey Apky "| sontonsey arepl mepxe pe ees | UL Patou] saedded Sy aQuIsIC + ssabaciid illus aqosee]
“que ait STOR IE] sosv200nd quies.op oauais “apres Tp jo staf] tofu equa] "ARDS
Puce ely ES PLE qant azcheury ¥ =m soghoodirl Pare cari) WEA aIEay Y ‘ganseHlod Pie SQTE TOP ES sqentadt ‘y UES pu SLIOPUE] SISEQ mou OF
Tay paPSOM SHEP PEP

 

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Zr ava Zis'S

1 aavsD OE

 

 

LgOVaD LF t

 

t TEVRS ‘ts’

 

 

ABopouyaay pus gaulatsg 10} spsspuass WuUspEdY

 

sHUAIg YET SE
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TOOT “¢ LEMTEL

per

uaa TUL

 

qxipuokiy + 9 apoD Bd te

 

SUED) as

}eey fO) SPOUT ara] | JG G OLE ENO

OG) Sunn (OPE * auEoLITY

"Ol ipT [aq Da} eeautaueepd Tapa &
Sp BU) RUST ong) See

"cesT 2g)

539.104 INEINTjOd posweunnt 36 57927,

Dus PEud ap Arpad pow mae

SeBOdisars aq) Fuinp soc |g
sO IOpUaT Aza ap ariary =

-*B]URRUMIS cuted PRE

Pagal $900paud pA] PE So “FE
am 0 Supwsy nko aap «

‘mecha Sed ey 10

pur up taoee jo rapt Sp IAOWT
Sufi] Pan EapBaw atoq agnosayy

*“Sikpioin Gases oan[deoue seiyemy 2

_ ‘Tere pe
sHtainapiies § PMURA. Saray FO aft
SERUo (sia! “e)ysodep poo" ata}

BSATOses Jo joRdin aq zeae
‘Sop Los putt

SORTA] UTES JO SEK] OT)
““RLOPSOp ADS s_ATIMOS
@ pape bey seayeosat Jafe

£ QUES JO WOEOO aT a Sea] e

“Saad Yue FO LE

PAE DOHEIO] “SuNgeMEAE AE azdery ‘a

Imarayip ay 24.0 6) wen
SRQEWS PP) SDAIN avery SeRAUNAE PRE

‘SPAAg] PGCE sittayed

rayprasn, pypaad o} goaihce airy
PAE S]a IAAT] py OpOHOSpoeet

-soraeeaeryS yeos welt
paseq ereespismmed a] {pears
"ERUSPMG! “EUOBaTzar

‘(Soph epiRey “sap boys.
| *sasgnbigyes * 2a) Spee LATTE

‘paniaurapdog
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‘as.

DOHA ped oys pais alpaca
drops fy adoqoos sry ef]p Pea
By] Oy cisaengsik yi pike SPELT

 

‘IUD -

sore! suonndepe oioeds Ene
SPRETTES Pur Ag/ODAL- SER OSOKT .
woe} PoyminiE Tes

‘uep FeSVeojosom Ur radssrty
Jeimpoyde ‘3'3} ae pomp ndnjeny] +
open se nedupaly TeNEAR
Mapa WOOT PIE TORRES

Je Seagal HEN] +

2B ajere Jo suonrony ap seduiOD 4
“SoU
WME JO S080 PUF AvameSs eM

 

“q'T] aq] fo suOpar matsp
aE Ue Fea Sy a eS
iif) Ak0h] PU steal pus eqOyS
pug pessetu Te Waray Tp Ip]
"pISepScRaT ye $A] beba Say | Jo eT
Jf 2a) MBBS PO ET
ogelinand
Poe COMMS Pero ED TO
S355 AR DRUETYT PIE BLG ye
“AAT
app Josue! Dapp oH sad

122772 YEN. POPALACEEA Se SUT]

aunssaid szraurriieg pub SONOAly
- Pet Sad, pad way Anep] *

| WopSing & ya SpeTT(D aye pete Wages

peso) DO Sedrur aD ay ETN
~paquers
fae RIED apeai SoAsuchare
ig siesuoy rapa ord

' Aajoroot>ar yo 7

ns
SPAT EAM O} peyg]a sa SPOTS
WELT] JO SHOTEIO] Sq SBME)
‘(S957 [ETYNRE SORTS
pouy “Salo “Spal pores “Haj
SHO MES UST SE
Jo saan pus oops ap mee +
“BUBEs STU
1 PROS POE [JO WOIPEMLEGY Sep
Ui PMP Seed ada *
‘wfaes Semnrag 01 (sipndop yeoo
388 “fo “Sod, goo Pela) soos
Tura UTES 20} PUR TAWAP]
“ay] Sepeas pole

ASiy Moy PUR SecUnose Ques HNTB “El

 

BOZBES

“au wey Lee pore Aanrgemee

poo] “Bjewiai ‘ened Pay
miosmes wader et AT ure

"pnp Sib josey Due

(rope) peed Bre beoanp

pat “aanpniachnial. papa) SBYyS
mubp urcuy siLtasee fem Aymiapi +

" ‘BaGET pridip Qillapy =

‘quae ZapOIN SEG NOTH

“(ed spares 2a)
doy USTEAESE & Oy yprbSse
STEUAENU WED HOS ply ANEpT +
sed Biciu0rd “spauy
‘sien Sapp“ T 4) TEVeeW
ues SAGUEA [oO sosn Op] =
‘SBS TRUE UES po Io pa Se oy OT

 

 

AFo[OUIHSa |, PUB adwalas 20F SPABPUBYS IWIBPRY
 

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Tha? ‘e enaey

tt

Tug Te

a spuaddy + 43 AOD Fd 22

VOS366. ..

 

 

‘f310y pu Hanae peg

Jo eda pes AtsAn Tak [kop FY) SPREPUR A 40) BF ‘er [p seata) spuppaepg ATopoay pay ple NoIyAciy Of 197337

 

“wou pe-apreg pak

ep A SS gUT BST BOE 7

‘SSTL FEAL IG yo Pie [ETT
sop noendoiddy soje-a soups

WES WOTTELY Sap pee

pare inetd Wp ayer

 

"SAT PEPRETINE sa] TY POY Cpe
jo ad) pate ope airghaw aj) rec»
‘(ang qe 7 fo bea a)

msniddrasap RRO IN sce +

JO soo puN aud ap TTL

UOTE I]a BO See

-ABogompatt
Jo Lo so] AE eed ay eee

‘ranmypod apart syeodap
Fo Cag Set aur wep SrOro Ay

"AAI SLE

. "BEES ASgosg

"aaa J0 UT Sayed apenbe
“(eutd ‘sq aps -“UssAK
Paaposerp EHS *aiToELOCi
‘Aupipng ~ Fo} sucgypuda

1 7 AS
PISnIRay SANE BAL @ Boe a2)s 45
pide 237d Pore ud guint

“WAIELPSSUTAY
uy aided 44 psn (sisal
“susieds anand aaa aay anges

"| siaenod yo sodungs supsads aed]
Samoa # $8 sof Jo Es ah SHE ‘a

 

esaepur pie yoo * So) FATE OES
SPARTEUT PTY [WIT OGY SSIS «+

PMG Sos HCoSe Mepy oe

Tepdon AeasaneTos aE

THEM ag ciremibe ayepaye

8 Fo Tad AY) Fa] e

 

‘(ane

epi ids ‘siaqny “eteg “O-o) “FaMEAs
SUTSEOsS pu waa AUER] *

Desi bi PD of] AD
pie (eye. ARES Tsay “pevaygod “'aa)

dh IES JOS aap UNIO, +

“fuonanpalds eouEeys Suseap ‘a
* ayeal ys] mary WES IpmeAunsg a

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PALF PEN LAT =

. TLORRereTUAD

PRE TOnsIode. va JO Saad

ay dian 3/5 eres ay orp
“SUS AS IEA 5, EP

wig yo jordLoy pak sorsayg LeEhSy “Cl

THPEHIEAE sooumopet ne ezTaaoosy .
uOTEKKEAy siaipane ger cintsy .

 

“(poy ‘bpuadiar ‘cogwodsael
‘sBsothe Brg} Sac cae -

“eq TRSTETpRces pits
. uno si ast on

  

oipdd ies TES pire
yeaa] 70 s3dx) Sasi pa esp +
RM
Aq pawgago si wes MFO SYN
“manip froyeeriide pap Mong
SO GS .
"ISTE TESTED 8 qa ag sENOO “Gg

 

 

A#oOUYIO], Puw BUaIDg 10y Sprepunjyg sApKIy
 

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ToNZ “¢ Semel

me ely

B sipuakiy 1 Uo “spon Pd Tey.

 

 

sy.
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